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     Jaclyn Montoya, John Kosmicki, and Kosmicki Investment Services, LLC, Petitioners  v.  Joseph Duran. Respondent No. 24SC582Supreme Court of Colorado, En BancDecember 9, 2024
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case Nos. 22CA2186, 23CA663
    
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petition
      for Writ of Certiorari DENIED.
    